
PER CURIAM.
Appellant was sentenced as a prison re-leasee reoffender, and he has raised two arguments that the Prison Releasee Reof-fender Punishment Act, section 775.082(8), Florida Statutes (1997), is unconstitutional. We have previously addressed both of these challenges and found them each to *444be without merit. See Chambers v. State, 752 So.2d 64 (Fla. 1st DCA 2000). However, we certify the same question previously certified in Woods v. State, 740 So.2d 20 (Fla. 1st DCA), review granted, 740 So.2d 529 (Fla.1999).
AFFIRMED.
MINER, BENTON, and BROWNING, JJ., Concur.
